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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 REX CLAY,                                     )
                                               )
               Plaintiff,                      )
                                               )
        vs.                                    )
                                               ) Case No. 1:15-cv-0075-TWP-MPB
 MARTIN MARIETTA MATERIALS,                    )
 INC.,                                         )
          Defendant.                           )
                                               )
                                               )

              ORDER ON NOTICE OF SETTLEMENT AND JOINT MOTION
                TO VACATE SETTLEMENT CONFERENCE AND ALL
                  REMAINING CASE MANAGEMENT DEADLINES

        This matter comes before the Court on the Notice of Settlement and Joint Motion to

 Vacate Settlement Conference and All Remaining Case Management Deadlines. Having

 reviewed and considered the Motion, the Court grants the Motion.

        It is hereby ORDERED that the settlement conference scheduled for February 17, 2016 is

 VACATED along with all other remaining case management deadlines.



 Dated: February 10, 2016




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